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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                     v.                      :       Case No: 22-CR-15 (APM)
                                             :
JOSHUA JAMES,                                :
         Defendant                           :




   DEFENDANT’S CONSENT MOTION TO MODIFY CONDITIONS OF PRETRIAL
                            RELEASE

       The Defendant, Joshua James, by undersigned counsel, respectfully moves this

Honorable Court to modify the conditions of his release. Undersigned counsel has consulted with

the government, who does not oppose this request. In support of this motion, Mr. James states as

follows:

1. On September 13, 2022, this Court granted Mr. James’s motion to amend the conditions of

    his bond to permit limited internet access for work purposes. See docket entry 311.

2. It has recently come to the attention of undersigned counsel that the September 13, 2022 Order

  has had the unintended consequence of requiring Mr. James to own two cell phones; one that

  is capable of accessing the internet for his work purposes, and another that is not capable of

  accessing the internet, which he must use for all personal telephone calls. The parties did not

  intend for Mr. James to have to use two phones and pay two monthly cell phone bills. In order

  to correct the problem, Mr. James proposes the following language, to which the government

  does not object:

       The defendant may access the internet for the sole purposes of: (1) attending court
       hearings; (2) communicating with his counsel and defense team; (3) reviewing discovery
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       materials with counsel and defense team; and (4) any business-related jobs and
       communications with business customers and potential business customers. The
       defendant may not access the Internet for any other purposes.

3. Additionally, Mr. James — who has remained in substantial compliance with the conditions

   of his release since his release 18 months ago — asks this Court to amend his curfew hours

   to require him to be home between the hours of 9:00 p.m. and 6:00 a.m. Currently Mr.

   James’s curfew conditions require him to be home between the hours of 7 p.m. and 7 a.m.

   Monday through Friday and between the hours of 8:30 p.m. and 7 a.m. on Saturday and

   Sunday. The extra time outside the home will allow Mr. James to seek and maintain

   additional part-time employment to supplement his family’s income. Although Mr. James

   owns his own business, during the late fall and winter his business slows down. Due to that

   dip in business, coupled with the loss of his monthly military benefits stemming from his

   conviction in this case, Mr. James must seek additional employment avenues to support his

   family.


                                           Respectfully submitted,

                                                  /s/
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                                           ____________/s/_____________
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of October, 2022, I will electronically file the
foregoing Notice with the Clerk of Court using the CM/ECF system, which will then send a
notification of said filing (NEF) to counsel of record.

                                                             _______________/s/__________
                                                                  Joan Robin
